     Case 18-00781-SMT          Doc 65     Filed 02/08/19 Entered 02/08/19 10:07:36             Desc Main
The order below is hereby signed.
                                          Document      Page 1 of 2
     Signed: February 7 2019




                                                        _____________________________
                                                        S. Martin Teel, Jr.
                                                        United States Bankruptcy Judge




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF COLUMBIA


      IN RE:                                        )
                                                    )
      UPPER CUTS GENTLEMAN’S                        )               Case No. 18-00781-SMT
      GROOMING PLACE, LLC                           )
                                                    )               Chapter 11
                      Debtor-In-Possession          )

                     ORDER EMPLOYING KEVIN CONYNGHAM AS CPA

               On January 7, 2019, the Debtor filed an Application to Employ Kevin Conyngham as

      Certified Public Accountant or "CPA" (Docket No. 57). No objections to the Application were

      filed by any creditors or parties in interest. For the reasons stated in the Application and good

      cause having been shown, it is hereby

               ORDERED that Debtor is authorized to employ Kevin Conynham as its CPA and

      compensate CPA for services rendered pursuant to fee applications first approved by the Court.

               A copy of this Order shall be served upon the Debtor, attorney for the Debtor, the

      proposed CPA and the United States Trustee.
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 I ASK FOR THIS:

 AP Law Group, PLC

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